                   Case 4:08-cr-00315-RSB-CLR Document 1619 Filed 11/06/17 Page 1 of 2


GAS 245D         (Rev. 09/11) Judgmenl in a Criminal Case for Revocations
                 Sheet I




                                         United States District Court
                                                              Southern District of Georgia
                                                                    Savannah Division

               UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                                  V.
                                                                                   (For Revocation of Probation or Supervised Release)
                   Stacey Tremaine Golden
                                                                                    Case Number:              4:08CR00315-30

                                                                                    USM Number:               13883-021

                                                                                    John William Rodman
                                                                                    Defendant's Attorney
THE DEFENDANT:

K! admitted guilt to violation of mandatory conditions of the term of supervision.
□ was found in violation of conditions(s)                                                          after denial of guilt.

The defendant is adjudicated guilty of these offenses:

    Violation Number             Nature of Violation                                                                             Violation Ended


                                 The defendant failed to refrain from any unlawful use of a controlled substance                December 11, 2015
                                 (mandatory condition).
                                 The defendant committed another Federal, stale or local crime (mandatory                         March 11, 2016
                                 condition).

         The defendant is sentenced as provided in page 2 of this judgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984.

□ The defendant has not violated condition(s)                                                    and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                            November 2, 2017
Last Four Digits of Defendant's Soc. Sec: 9869                              Date of Imposition of Judgment



Defendant's Year of Birth: 1971
                                                                            Signature of Judge


City and State of Defendant's Residence:

Savannah. Georgia
                                                                            William T. Moore, Jr.
                                                                            Judge, U.S. District Court
                           U. S. DSSTRICT COURT                             Name and Title of Judge
                           Southern District of Qa-
                                  Filed in Office
                                                                            Dale
                                                          ex.
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Case 4:08-cr-00315-RSB-CLR Document 1619 Filed 11/06/17 Page 2 of 2
